             Case 9:20-cr-00032-DWM             Document 188-11              Filed 02/25/22   Page 1 of 2




527 Title:                               sicario 2 trailer - Google Search

     URL:                                https://www.google.com/search?q=sicario+2+trailer&ie=UTF-8&oe=UTF-8&hl=en-us
                                         &client=safari

     Last viewed (Device time +00:00):   12/23/2017 12:11:42 AM

     Thumbnail:                          E81F11B4-8ABB-4A50-A92F-D54DD2E52CFA




                                                                                                           134a 236
                                                                                                      20-32-M-DWM
                Case 9:20-cr-00032-DWM
Case: 280876, IMEI: 354893094448859, Apple iPhone 8
                                                          Document 188-11   Filed 02/25/22 Oxygen
                                                                                             Page     2 of 2
                                                                                                  Forensic® Detective - 11.6.2.100

7298                SMS - Sent                                                                                             SMS
        Description: (No description)
        From: Me <+18123058776>                                                   Time stamp
                                                                                  (Device time        12/21/2017 3:55:44 AM
                                                                                  +00:00):
        To: +19314318010

        Remote party: +19314318010

        Direction: Outgoing                           Read status: Read               Deleted: No

        Tell CM to take a deep breath. I’m not too uptight about it. They actually did me a favor by calling the character
        Matty. The flip flops make me more uptight than anything because I caught more dirty looks from the ambo over
        that and my gym attire in the embassy than anything else. Poor Anne aged 10 years during those 3 years. Maybe
        you’ll be lucky and they will have a character that resembles your ugly mug in part 2. Lol....the hairy gay dboy


7299                SMS - Inbox                                                                                            SMS
        Description: (No description)
        From: +19314318010                                                        Time stamp
                                                                                  (Device time        12/21/2017 2:55:07 AM
                                                                                  +00:00):
        To: Me <+18123058776>

        Remote party: +19314318010

        Direction: Incoming                           Read status: Read               Deleted: No

          dude, someone keeps leaking info on your exploits across the border. Part 2 is coming out? Cookie Monster just
        dropped a golden egg when I showed him the trailer. His response was of fuck, Matty is going to have a nervous
        breakdown with this shit. Any idea who spilled so many details? And now they are plugging a halo scene? Do we
        think it’s the mx marinos? thriller out




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